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UNITED STATES DISTRICT COURT RICA

SOUTHERN DISTRICT OF NEW YORK

 

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UNITED STATES OF AMERICA : SEALED SUPERSEDING
INDICTMENT
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RAUL IONUT VIDRASAN,
a/k/a “Michu,”
a/k/a “The Boy,”
Defendant. :
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COUNT ONE

(Conspiracy to Commit Access Device Fraud)

The Grand Jury charges:

1. From at least in or about 2014 until at least in or
about September 2019, in the Southern District of New York and
elsewhere, RAUL IONUT VIDRASAN, a/k/a “Michu,” a/k/a “The Boy,”
the defendant, and others known and unknown, willfully and
knowingly did combine, conspire, confederate, and agree together
and with each other to commit access device fraud, in violation
of Title 18, United States Code, Sections 1029(a) (1), (a) (2),
(a) (3), (a) (4), and (a) (5).

2. It was a part and an object of the conspiracy that
RAUL IONUT VIDRASAN, a/k/a “Michu,” a/k/a “The Boy,” the
defendant, and others known and unknown, knowingly and with
intent to defraud, as a part of an offense affecting interstate

and foreign commerce, would and did produce, use, and traffic in
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one and more counterfeit access

Title 18, United States Code,

3. It was further a part
that RAUL IONUT VIDRASAN, a/k/a
defendant, and others known and
intent to defraud, as a part of

and foreign commerce, would and

more access devices during a one-year period,

devices, in violation of

Section 1029(a) (1).

and an object of the conspiracy
“Michu,” a/k/a “The Boy,” the
unknown, knowingly and with

an offense affecting interstate

did traffic in and use one and

and by such

conduct obtained more than $1,000 during that period, in

violation of Title 18,

4, It was further a part
that RAUL IONUT VIDRASAN, a/k/a
defendant, and others known and
intent to defraud, as a part of

and foreign commerce, would and

United States Code,

Section 1029 (a) (2).
and an object of the conspiracy
“Michu,” a/k/a “The Boy,” the
unknown, knowingly and with

an offense affecting interstate

did possess fifteen and more

devices which were counterfeit and unauthorized access devices,

in violation of Title 18,
Section 1029 (a) (3).

5. It was further a part
that RAUL IONUT VIDRASAN, a/k/a
defendant, and others known and
intent to defraud, as a part of

and foreign commerce, would and

United States Code,

and an object of the conspiracy
“Michu,” a/k/a “The Boy,” the
unknown, knowingly and with

an offense affecting interstate
have

did produce, traffic in,
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custody and control of,
violation of Title 18,
6. Tt was further a part
that RAUL IONUT VIDRASAN, a/k/a
defendant, and others known and
intent to defraud, as a part of

and foreign commerce, would and

and more access devices issued to another person or persons,

and possess device-making equipment,

United States Code,

in
Section 1029(a) (4).
and an object of the conspiracy
“Michu,” a/k/a “The Boy,” the
unknown, knowingly and with

an offense affecting interstate

did effect transactions with one

to

receive payment and other things of value during a one-year

period the aggregate value of which was equal to and greater

than $1,000,

Section 1029(a) (5).

in violation of Title 18,

United States Code,

OVERT ACT

7. In furtherance of the

illegal objects thereof,

the following overt act,

conspiracy and to effect the

among others,

was committed in the Southern District of New York and

elsewhere:
a. On or about June

a/k/a “Michu,” a/k/a “The Boy,”

26, 2017, RAUL IONUT VIDRASAN,

the defendant, removed a

skimming device from an ATM in or around Boston, Massachusetts.

(Title 18, United States

Code, Section 1029(b) (2).)
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COUNT TWO
(Conspiracy to Commit Wire Fraud and Bank Fraud)

The Grand Jury further charges:

8. The allegations contained in paragraph 7 above are
hereby repeated, realleged, and incorporated by reference as if
fully set forth herein.

9. From at least in or about 2014 until at least in or
about September 2019, in the Southern District of New York and
elsewhere, RAUL IONUT VIDRASAN, a/k/a “Michu,” a/k/a “The Boy,”
the defendant, and others known and unknown, willfully and
knowingly, did combine, conspire, confederate, and agree
together and with each other to commit wire fraud, in violation
of Title 18, United States Code, Section 1343, and bank fraud,
in violation of Title 18, United States Code, Section 1344.

10. It was a part and object of the conspiracy that RAUL
TONUT VIDRASAN, a/k/a “Michu,” a/k/a “The Boy,” the defendant,
and others known and unknown, willfully and knowingly, having
devised and intending to devise a scheme and artifice to defraud
and for obtaining money and property by means of false and
fraudulent pretenses, representations, and promises, would and
did transmit and cause to be transmitted by means of wire,
radio, and television communication in interstate and foreign

commerce, writings, signs, signals, pictures, and sounds for the
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purpose of executing such scheme and artifice, in violation of
Title 18, United States Code, Section 1343.

11. It was further a part and object of the conspiracy
that RAUL IONUT VIDRASAN, a/k/a “Michu,” a/k/a “The Boy,” the
defendant, and others known and unknown, willfully and
knowingly, would and did execute and attempt to execute a scheme
and artifice to defraud a financial institution, the deposits of
which were then insured by the Federal Deposit Insurance
Corporation, and to obtain moneys, funds, credits, assets,
securities, and other property owned by, and under the custody
and control of, such financial institution, by means of false
and fraudulent pretenses, representations, and promises, in
violation of Title 18, United States Code, Section 1344.

(Title 18, United States Code, Section 1349.)

COUNT THREE
(Aggravated Identity Theft)

The Grand Jury further charges:

12. The allegations contained in paragraph 7 above are
hereby repeated, realleged, and incorporated by reference as if
fully set forth herein.

13. From at least in or about 2014 until at least in or
about September 2019, in the Southern District of New York and
elsewhere, RAUL IONUT VIDRASAN, a/k/a “Michu,” a/k/a “The Boy,”

the defendant, and others known and unknown, knowingly did
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transfer, possess, and use, without lawful authority, a means of
identification of another person, during and in relation to a
felony violation enumerated in Title 18, United States Code,
Section 1028A(c), and aided and abetted the same, to wit, the
defendant, among other things, engaged in ATM skimming to
unlawfully obtain debit card information for victim
accountholders (including, but not limited to, the victim
accountholders’ names, debit card numbers, and personal
identification numbers), created fraudulent debit cards using
the stolen victim information, and then used the fraudulent
debit cards bearing the victim accountholders’ debit card
numbers to make millions of dollars in unauthorized withdrawals
from the victims accountholders’ bank accounts, all during and
in relation to the conspiracy to commit access device fraud
charged in Count One of this Indictment and the conspiracy to
commit wire fraud and bank fraud charged in Count Two of this
Indictment.

(Title 18, United States Code, Sections 1028A(a) (1), 1028A(b),
and 2.)

FORFEITURE ALLEGATIONS
14. As a result of committing the offense alleged in
Count One of this Indictment, RAUL IONUT VIDRASAN, a/k/a
“Michu,” a/k/a “The Boy,” the defendant, shall forfeit to the

United States, pursuant to Title 18, United States Code,
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Sections 982(a) (2) (B) and 1029(c)(1)(C), any and all property
constituting or derived from, proceeds obtained directly or
indirectly, as a result of the commission of said offense, and
any and all personal property used or intended to be used to
commit said offense, including but not limited to a sum of money
in United States currency representing the amount of proceeds
traceable to the commission of said offense that the defendant
personally obtained.

15. As a result of committing the offense alleged in
Count Two of this Indictment RAUL IONUT VIDRASAN, a/k/a “Michu,”
a/k/a “The Boy,” the defendant, shall forfeit to the United
States, pursuant to Title 18, United States Code,
Section 981(a) (2) (A), any and all property, constituting, or
derived from, proceeds obtained directly or indirectly as a
result of the commission of said offense, including but not
limited to a sum of money in United States currency representing
the amount of proceeds traceable to the commission of said
offense that the defendant personally obtained.

Substitute Assets Provision

16. If any of the above-described forfeitable property, as

a result of any act or omission of the defendant:
a. cannot be located upon the exercise of due

diligence;
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b, has been transferred or sold to, or deposited

with, a third person;

c. has been placed beyond the jurisdiction of the
Court;

d. has been substantially diminished in value; or

e. has been commingled with other property which

cannot be subdivided without difficulty;
it is the intent of the United States, pursuant to Title 21,
United States Code, Section 853(p) and Title 28, United States
Code, Section 2461(c), to seek forfeiture of any other property
of the defendant up to the value of the above forfeitable
property.

(Title 18, United States Code, Sections 981, 982, and 1029;

Title 21, United States Code, Section 853; and
Title 28, United States Code, Section 2461.)

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oreperson GEOFFREY 9. BERMAN

United States Attorney

 

 
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
v.
RAUL IONUT VIDRASAN,
a/k/a “Michu,”
a/k/a “The Boy,”

. Defendant.

 

SEALED SUPERSEDING INDICTMENT

 

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(18 U.S.C. $§ 1028A(a) (1), 1028A(b),
1029 (b) (2), 1349, and 2.)

GEOFFREY S. BERMAN
United States Attorney

 

 

Foreperson

 

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